                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:05CR104

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                     AMENDED
                                    )                      ORDER
GABRIEL ROMERO, et al.,             )
                                    )
            Defendants.             )
___________________________________ )

       THIS MATTER is before the Court on its own Motion amending the Order filed June 8,

2006, in which the Court scheduled a status conference in this matter.

       IT IS, THEREFORE, ORDERED that this matter is set for a status conference as to all

Defendants who have not pled guilty or been dismissed on Tuesday, June 27, 2006 at 10:45

a.m. in Courtroom #2 in the Charlotte Division of the Western District of North Carolina.

       The Clerk is directed to send copies of this Order to defense counsel, the United States

Attorney, the United States Marshal Service and the United States Probation Office.



                                                Signed: June 22, 2006




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